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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

In re NATIONAL PRESCRIPTION OPIATE )                No. 1:17-md-2804
LITIGATION                         )
                                   )                Judge Dan A. Polster
                                   )
This Document Relates To:          )
                                   )
       ALL ACTIONS.                )
                                   )



    [PROPOSED] ORDER REGARDING MASTER STIPULATION OF DISMISSAL OF
                 CLAIMS AGAINST SETTLING DEFENDANTS

        Pursuant to the five recent National Opioid Settlement Agreements1, in order to participate

in the National Opioid Settlement Agreements with any or all of (1) Allergan, (2) Teva, (3)

Walmart, (4) Walgreens, or (5) CVS (collectively, and together with any affiliated entities

provided for under the applicable National Opioid Settlement Agreement(s), “Defendants”), local

governments must sign a Subdivision Settlement Participation Form. Each local government that

signs a Subdivision Settlement Participation Form agrees, in part, to dismiss its claims against the

Defendant(s) and Released Entities with which it is settling.

        For administrative convenience based on the procedure used in connection with prior

National Opioid Settlements, by signing the Subdivision Settlement Participation Form(s), the

local government also authorizes the Plaintiffs’ Executive Committee (“PEC”) to file a Master

Stipulation    of    Dismissal    (in    a    format    similar    to    what     is   posted     at

https://nationalopioidsettlement.com/) with respect to all claims that the local government has




1
    “National Opioid Settlement Agreements” are the Allergan Public Global Opioid Settlement
Agreement, the Teva Global Opioid Settlement Agreement, the Walmart Settlement Agreement,
the Walgreens Settlement Agreement, and the CVS Settlement Agreement. All defined terms shall
have the same meanings as they do in their respective settlement agreements.
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pending in MDL 2804 against the Defendant(s) with which it is settling. See, e.g., Teva Agreement,

Exh. K at K-1, ¶3 (“With respect to any Released Claims pending in In re National Prescription

Opiate Litigation, MDL No. 2804, the Governmental Entity authorizes the Plaintiffs’ Executive

Committee to execute and file on behalf of the Governmental Entity a Stipulation of Dismissal

With Prejudice”).

         Accordingly, the Court hereby affirms that the PEC is authorized to execute and file on the

MDL 2804 docket such Master Stipulations of Dismissal on behalf of any and all local

governments to the extent provided for in the executed Subdivision Settlement Participation

Forms.

         IT IS SO ORDERED.

 DATED:




                                                HONORABLE DAN AARON POLSTER
                                                UNITED STATES DISTRICT JUDGE




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